









Dismissed and Memorandum Opinion filed March 9, 2006









Dismissed and Memorandum Opinion filed March 9, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00126-CR

____________

&nbsp;

HAROLD ARTHUR
JOHNSON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
180th District Court

Harris County, Texas

Trial Court Cause No. 1044657

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to unauthorized use of a
motor vehicle.&nbsp; In accordance with the
terms of a plea bargain agreement with the State, the trial court sentenced
appellant on January 11, 2006, to confinement for two years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; We dismiss the appeal.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).&nbsp; The record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed March 9, 2006.

Panel consists of Justices Hudson,
Fowler, and Seymore.

Do Not Publish C Tex. R. App. P. 47.2(b).





